       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Douglas R. Linton
        v. Debra A. Linton
        Record No. 2358-13-4
        Opinion rendered by Judge Frank on
        June 17, 2014

    2. Commonwealth of Virginia
        v. Rayshawn Torrell Greer
        Record No. 1898-13-1
        Opinion rendered by Judge Decker on
        July 22, 2014

    3. James C. Howard, Jr.
        v. Commonwealth of Virginia
        Record No. 0820-13-1
        Opinion rendered by Senior Judge Bumgardner on
         August 5, 2014

    4. Adelamola Oraide Adeniran
        v. Commonwealth of Virginia
        Record No. 0317-13-4
        Opinion rendered by Judge Frank on
        August 19, 2014
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Jayquane Dontae Perry
    v. Commonwealth of Virginia
   Record No. 2171-11-1
    Opinion rendered by Judge Huff
     on March 5, 2013
    Refused (130554)

2. Carlos Abraham Martinelly-Montano
   v. Commonwealth of Virginia
   Record No. 0286-12-4
   Opinion rendered by Senior Judge Annunziata
    on March 26, 2013
   Refused (131705)

3. Dijon Allen Smith
   v. Commonwealth of Virginia
   Record No. 0197-12-2
   Opinion rendered by Judge Elder
    on April 2, 2013
   Refused (130710)

4. Ernesto Wilfredo Solano Godoy
   v. Commonwealth of Virginia
   Record No. 0369-12-4
   Opinion rendered by Judge Huff
     on May 28, 2013
   Refused (131032)

5. Patrick Timothy Jeffers
   v. Commonwealth of Virginia
   Record No. 0573-12-2
   Opinion rendered by Judge Kelsey
     on June 18, 2013
    Refused (131097)

6. Ronald Stuart Murry
   v. Commonwealth of Virginia
   Record No. 0522-12-2
   Opinion rendered by Judge Chafin
    on June 25, 2013
   Judgment of Court of Appeals reversed and matter remanded to this Court for
     remand to trial court for new sentencing hearing by opinion rendered on
     September 12, 2014 (131137)
7. Curtis Trumaine Calloway
   v. Commonwealth of Virginia
   Record No. 0387-12-3
   Opinion rendered by Judge Petty
    on August 6, 2013
   Refused (131389)

8. Delores O’Brien Heffernan
   v. Arlington County Department of Human Services
   Record No. 1471-12-4
   Opinion rendered by Judge Humphreys
    on August 13, 2013
   Refused (131538)

9. Patricia Tackett
   v. Arlington County Department of Human Services
   Record No. 1519-12-4
   Opinion rendered by Judge Humphreys
     on August 13, 2013
    Refused (131620)

10. Delores O’Brien Heffernan
   v. Arlington County Department of Human Services
   Record No. 1520-12-4
   Opinion rendered by Judge Humphreys
     on August 13, 2013
    Refused (131564)

11. Vernon R. Chappelle
   v. Commonwealth of Virginia
   Record No. 0606-12-1
   Opinion rendered by Judge Alston
     on August 20, 2013
    Refused (131427)

12. Dennis Holland
   v. Commonwealth of Virginia
   Record No. 0965-12-3
   Opinion rendered by Judge Humphreys
     on October 22, 2013
    Refused (131832)

13. Darren D. Snowden
    v. Commonwealth of Virginia
    Record No. 1570-12-1
    Opinion rendered by Judge Alston
     on October 29, 2013
    Refused (131729)
14. Jared Benjamin Bailey
   v. Commonwealth of Virginia
   Record No. 0465-12-2
   Opinion rendered by Senior Judge Coleman
     on November 5, 2013
    Refused (131888)

15. Kerry Lee Winslow
   v. Commonwealth of Virginia
   Record No. 2113-12-1
   Opinion rendered by Judge Kelsey
    on November 12, 2013
   Refused (131916)
